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 UNITED STATES BANKRUPTCY COURT FOR THE STATE OF COLORADO

 Debtor 1:__Dennis Obduskey                                         Case #:16-17141 JGR
            First Name Middle Name     Last Name

 Debtor 2: _                                        Chapter: 13
            First Name   Middle Name    Last Name




 Local Bankruptcy Form 9070-1.1
 List of Witnesses and Exhibits

 Complete applicable sections.

 Dennis Obduskey hereby designates the following witnesses and exhibits for
 the hearing set for August 29, 2018 at 10:00 a.m. at the U.S. Bankruptcy Court,
 U.S. Custom House, 721 19th Street, Courtroom B, Fifth floor, Denver, CO
 80202.

 Part 1 2 Witnesses

 Party will call the following witnesses:

 Witness Name                                          Nature of Testimony
 Dennis K. Obduskey                                    Mr. Obduskey is the Debtor in this case. Mr.
                                                       Obduskey is expected to testify




 Party may call the following witnesses:

 Witness Name                                          Nature of Testimony
 Steven Hill, Esq.                                     Mr. Hill represented Mr. Obduskey in the civil
                                                       court cases up to the Tenth Circuit Court of
                                                       Appeals. Mr. Hill is expected to testify as to his
                                                       efforts to determine who the owner of the debt in
                                                       question, and the difficulties encountered, as well
                                                       as the litigation against Wells Fargo
 Keith Gantenbein, Esq.                                Mr. Gantenbein’s testimony is expected to
                                                       concern Wells Fargos practices during the time
                                                       the Foreclosure actions were filed in Park County
                                                       Colroado. Mr. Gatenbien worked for the law firm
                                                       that filed the foreclosure action at the time the
                                                       action was filed
 James Kelly                                           Mr. Kelly is expected to testify as a expert
                                                       witness. Mr. Kelley is expected to testify and
                                                       offer opinions concerning the subject matter
                                                       of this case. t
 Takia Jamea Martin, VP Loan Documentation,            Ms. Martin is expected to testify as to the
 Wells Fargo Bank                                      information used and process utilized in
                                                       preparaton of proof of claim #1
 Tati Mohammad
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 Any witnesses endorsed by Wells Fargo Bank
 Any witnesses needed for rebuttal



 Part 2    Exhibits


 Exhibit      Description                   Offered    Admitted        Additional Comments
 Number                                     (Yes/No)   (Yes/No)        (electronic video, paper,
                                                                       etc.)
 1            Docket report for case
              number 16-17141 dated
              8/20/18
 2            Debtor’s Petition,
              Schedules, Chapter 13
              plan, Chapter 13 means
              test and statement of
              Financial Affairs dated
              7/19/2016
 3            Proof of claim #1 and
              exhibits filed by Wells
              Fargo 8/3/2016 and
              amended proof of claim #1
              and exhibits filed by Wells
              Fargo filed 6/12/2017
 4            Proof of Claim #1 and
              exhibits amended by Wells
              Fargo 6/15/2017
 5            U.S. Bankruptcy Court
              Official Form 410
              Instructions for Proof of
              Claim
 6            Letter from Debtor to
              Office of RESPA dated
              11/7/2011
 7            Letter from Wells Fargo to
              Debtor dated 12.9.2011
                 th
 8            10 Cir. Appellate Case
              16-330 document no
              01019573001 filed
              1/19/2017 page 11
 9            R.E.S.P.A. Qualified
              Written Request dated
              5/15/2017 from Steven Hill
              to Wells Fargo dated
              5/15/2017
 10           Letter from Wells Fargo to
              Steven Hill dated May 26,
              2017
 11           Letter from Wells Fargo to
              Wells Fargo dated July 13,
              2017 concerning letter
              reference# above
 12           Documents sent from
              Counsel for Wells Fargo to
              Debtor’s counsel 7.5.2018
              1:23 p.m.
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 13          Freddie Mac – Step by
             Step Mortgage Guide.
             Publication Number 853
             June, 2016
 14          Debtor’s closing
             instructions and proof
             sheet
 15          Indictment of Kedrick
             McDuffy


             Any exhibits endorsed by
             Wells Fargo
             Any exhibits needed for
             rebuttal


 Debtor reservies the right to amend.


 Part 3 2 Signature of Debtor‘s Attorney

 Dated: August 20, 2018

                                           / Jane M. Roberson, Esq.
                                           Jane M. Robeson #30543
                                           Counsel to Debtor(s)
                                           720 South Colorado Blvd. - #630-South
                                           Denver, CO 80246
                                           303-893-0833 Fax:303-431-0633
                                           e-mail: Roberson@JustAskJane.com




                                        CERTIFICATE OF SERVICE



         The undersigned hereby certifies that on August 20, 2018, a true and correct copy of the
 Witness and Exhibit list and Exhibtis 1 – 15 were sent ot the following parties in compliance with the
 Federal Rules of Bankruptcy Procedure and the Court’s local rules:

         Holly Shilliday via email   bknotice@mccarthyholthus.com and email

         Attorney Ilene Dell’Acqua via CM/ECF idellacqua@mccarthyholthus.com


                                                                   /s/ Jane M. Roberson
